          Case 1:18-cr-00085-SM Document 63 Filed 10/27/20 Page 1 of 3



                       UNITED STATES DISTRICT COURT

                         DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                         Case No. 18-cr-85-2-SM
                                                Opinion No. 2020 DNH 188
Randy Barton


                                     ORDER


     Defendant’s motion for “compassionate release” from

incarceration under the First Step Act, 18 U.S.C. §

3582(a)(1)(A), given the COVID-19 pandemic, is properly before

the court as defendant has exhausted available administrative

remedies.     Doc. No. 59.



     The burden is on defendant to show that he is entitled to

relief, that is 1) that extraordinary and compelling reasons

warrant a reduction in his sentence, and 2) such a reduction

would be consistent with the sentencing factors set out in 18

U.S.C. § 3553(e) as well as Sentencing Commission Policies

(though that is not strictly required under the First Step Act).



     Here, the government concedes that defendant’s medical

conditions place him in a high-risk category should he contract

COVID-19, and that defendant has met his burden to show



                                       1
          Case 1:18-cr-00085-SM Document 63 Filed 10/27/20 Page 2 of 3



“extraordinary and compelling” reasons warranting sentence

reduction.     But, says the government, the sentencing factors

weigh heavily against defendant’s early release, particularly

the danger defendant poses to the community.           See 18 U.S.C. §

3142(g); USSG § 1B1.13(2).



     Risk management procedures at FCI Schuylkill, where

defendant is incarcerated, have been both extensive and largely

successful in controlling the spread of the virus.            Recently,

(September 2020) there were no active cases among inmates and

only one staff member who tested positive.           The current risk of

contracting the virus is low.         And, defendant’s history strongly

militates against release.



     Defendant was convicted of possession with the intent to

distribute more than 5 grams of methamphetamine, an offense that

is serious, carrying a 5-year mandatory minimum sentence.

Defendant, a career offender, was sentenced to 10 years in

prison.     He has served only a small portion of that sentence and

has not met his burden to show that he no longer poses a danger

to the safety of the community.         In addition, defendant’s early

release would, under these circumstances, be inconsistent with

the sentencing goals of promoting respect for the law, imposing




                                       2
        Case 1:18-cr-00085-SM Document 63 Filed 10/27/20 Page 3 of 3



a just punishment, protecting the public, and providing for both

general and specific deterrence.         18 U.S.C. § 3553(a).



                                Conclusion

      Given the current low risk of community spread of the virus

in the facility, the danger to public safety defendant would

pose if released, and the sentencing factors militating against

defendant’s early release, the motion for compassionate release

under the First Step Act is hereby denied.



      SO ORDERED.

                                          ____________________________
                                          Steven J. McAuliffe
                                          United States District Judge

October 27, 2020

cc:   John S. Davis, AUSA
      Shane Kelbley, AUSA
      Jaye L. Rancourt, Esq.
      U.S. Probation
      U.S. Marshal




                                     3
